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   --------------------------------------------------------------X
   RAMESH SAWHNEY and NINA BHARDWAJ,                                   UNITED STATES DISTRICT COURT
                                                                       DISTRICT OF NEW JERSEY
                             Plaintiffs,                               Civil Action No. 2:21-cv-14675-
                                                                       KSH-LDW
                    -against-
                                                                       CERTIFICATION OF SERVICE
   CHUBB INSURANCE COMPANY OF
   NEW JERSEY,

                              Defendant.
   --------------------------------------------------------------X
            Richard A. Fogel, an attorney duly admitted to practice before the courts of the

   State of New Jersey, certifies under penalty of perjury:

           1.       I am over 18 years of age, not a party to this action and reside in Suffolk

   County, New York.

           2.       On the 23rd day of February, 2022, I served a true copy of Plaintiffs’ Rule

   26 Early Disclosure by email to defendant’s counsel Cynthia Bernstiel at

   cyndi@mcbelaw.com.

           3.       I certify that the forgoing statements made by me are true and I am aware

   that if any of the foregoing is willfully false I am subject to punishment.

   Dated: Islip, New York                                       Richard A. Fogel
          February 23, 2022
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